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             USCA11 Case: 22-12791 Date Filed: 10/21/2022 Page: 1 of 2


                             UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT
                                  ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                56 Forsyth Street, N.W.
                                                Atlanta, Georgia 30303

  David J. Smith                                                                        For rules and forms visit
  Clerk of Court                                                                        www.ca11.uscourts.gov


                                              October 21, 2022

   Clerk - Southern District of Florida                                                     AP
   U.S. District Court
   400 N MIAMI AVE
   MIAMI, FL 33128-1810                                                          Oct 21, 2022
   Appeal Number: 22-12791-JJ
   Case Style: USA v. Michael Barth                                                              MIAMI
   District Court Docket No: 9:22-mj-08332-BER-1

   The enclosed copy of the Clerk's Order of Dismissal for failure to prosecute in the above-
   referenced appeal is issued as the mandate of this court. See 11th Cir. R. 41-4. Pursuant to 11th
   Cir. R. 42-2(c) and 42-3(c), when an appellant fails to timely file or correct a brief or appendix,
   the appeal shall be treated as dismissed on the first business day following the due date. This
   appeal was treated as dismissed on 09/26/2022.

   Eleventh Circuit Rules 42-2(e) and 42-3(e) govern motions to set aside dismissal and remedy
   the default. Such motions must be filed within 14 days of the date the clerk issues the Order of
   Dismissal. Except as otherwise provided by FRAP 25(a) for inmate filings, a motion to set aside
   dismissal and remedy the default is not timely unless the clerk receives the motion within the
   time fixed for filing. See FRAP 25(a)(2)(A)(i).

   Any pending motions are now rendered moot in light of the attached order.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Tiffany Tucker, JJ
   Phone #: (404)335-6193

   Enclosure(s)




                                                                DIS-2CIV Letter and Entry of Dismissal
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                         IN THE UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT

                                          ______________

                                          No. 22-12791-JJ
                                          ______________

   UNITED STATES OF AMERICA,

                                                     Plaintiff - Appellee,

   versus

   MICHAEL S. BARTH,

                                                     Interested Party - Appellant,

   SEALED SEARCH WARRANT,

                                               Defendant.
                         __________________________________________

                            Appeal from the United States District Court
                                for the Southern District of Florida
                         __________________________________________

   ORDER: Pursuant to the 11th Cir. R. 42-2(c), this appeal is DISMISSED for want of
   prosecution because the appellant Michael S. Barth failed to file an appendix within the time
   fixed by the rules, effective October 21, 2022.

                                         DAVID J. SMITH
                              Clerk of Court of the United States Court
                                 of Appeals for the Eleventh Circuit

                                                            FOR THE COURT - BY DIRECTION
